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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


KEVIN MOITOSO, et al.
                                                                1:18-CV-12122-WGY
                      Plaintiffs,

                      v.                               ORAL ARGUMENT REQUESTED

FMR LLC, et al.,

                      Defendants.




                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to Fed. R. Civ. P. 56 and Local Rule 56.1, Defendants FMR LLC, the FMR

LLC Funded Benefits Investment Committee, the FMR LLC Retirement Committee, Fidelity

Management & Research Company, FMR Co., Inc., and Fidelity Investments Institutional

Operations Company, Inc. (together, “Defendants”) hereby move for summary judgment in their

favor on all counts of the Fourth Amended Complaint on the ground that the undisputed facts

show that Defendants are entitled to judgment thereon as a matter of law.

       The grounds for this Motion are set forth in the accompanying Memorandum of Law.

This Motion is also supported by (i) Defendants’ Statement of Undisputed Material Facts; and

(ii) the supporting declaration of David Rosenberg, filed herewith.

                            REQUEST FOR ORAL ARGUMENT

       Defendants believe that oral argument will assist the Court in the resolution of this

motion. Accordingly, pursuant to L.R. 7.1(d), Defendants respectfully request that oral argument

be heard on this motion.
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                         LOCAL RULE 7.1(a)(2) CERTIFICATION

       Counsel for Defendants hereby certify that they have conferred with Plaintiffs’

Counsel regarding the relief requested herein. Plaintiffs oppose the relief requested.



Dated: September 6, 2019                         Respectfully submitted,
       Boston, MA
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                                CERTIFICATE OF SERVICE

       I, John J. Falvey, Jr., hereby certify that the foregoing document is being filed through the
ECF system and will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing on September 6, 2019. The foregoing document will be available for
viewing and downloading from the ECF system.

                                                      /s/ John J. Falvey, Jr.
                                                     John J. Falvey, Jr.




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